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MEMPi-iis DivisioN
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UN|TED STATES OF AMER|CA

di ustth
_v. 04-20121-01-Ma W C¢°;MS
LiSA LAMBERT

Edwin Perry, FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

JUDGMENT |N A CR|MlNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on Apri|14,2005. According|y, the court
has adjudicated that the defendant is guilty cf the following offense(s):

Date Offense Count

Title & section EMM M N_uan(§)
42 U.S.C. § 408(a)(7)(B) Nlisuse of Socia| Security Number 06/27/2000 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Flestitution Aot of 1996.

Count 1 is dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitutionr costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX - Date of imposition of Sentence:
Defendant’s Date of Birth: 05/06/1975 July 15, 2005
Deft’s U.S. |Vlarsha| No_: 175324-074

Defendant's Residence Address:
1617 E. 50"1 P|ace, # 10A
Chicago, |L 60615

Jo(//"/t_

SAMUEL H. MAYS, JR.
UN|TED STATES D|STR|CT JUDGE

Ju|y {q

 

, 2005

This doci.ment entered on the docket sheet in compliance
with Rti|e 55 and/or 321b\ FFlCrP on _z;ao_"_€§

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Defendant Name: Lisa Lambert Page 2 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of two (2) years.

Whiie on probation, the defendant shall not commit another federai, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitutionl

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingr or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Lisa Lambert Page 3 of 4

10.

`ll.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

|f this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or
alcohol dependency which may include testing for the detection cf substance use or
abuse. Further, the defendant shall be required to contribute to the costs of services
for such treatment not to exceed an amount determined reasonable bythe Probation
Officer.

2. The defendant shall be prohibited from incurring new credit charges, opening
additional lines of credit, or making an obligation for any major purchases without
approval of the Probation Officer.

3. The defendant shall provide the Probation Officer access to any requested financial
information

4. The defendant shall provide third-party risk notification.
5. The defendant shall maintain lawful full-time employment

6. The defendant shall cooperate in the coilection of DNA as directed by the Probation
Officer.

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Defendant Name: Lisa Lambert Page 4 of 4

CFllMlNAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Ftestitution
$100.00

The Specia| Assessment shall be due immediatelyl

FlNE
No fine imposed

FiEST|TUTiON
No Fiestitution was ordered

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CR-20121 Was distributed by faX, mail, or direct printing on
.luly 20, 2005 to the parties listed.

 

 

Tracy Lynn Berry

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Ste. 800

l\/lemphis7 TN 38103

Edvvin A. Perry

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

